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15
                               UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
      LD, DB, BW, RH, and CJ on behalf of                 Case No. 4:20-cv-02254-YGR-JCS
18    themselves and all others similarly
      situated,                                               STATEMENT OF RECENT
19    Plaintiffs,                                            DECISION PERTAINING TO
      vs.                                                 DEFENDANT MULTIPLAN, INC.’S
20    UNITED BEHAVIORAL HEALTH,                           MOTION FOR RELIEF FROM NON-
      INC., a California Corporation,                      DISPOSITIVE PRETRIAL ORDER
21    UNITEDHEALTHCARE INSURANCE                              OF MAGISTRATE JUDGE
      COMPANY, a Connecticut Corporation,                            [DKT. 268]
22    and MULTIPLAN, INC. a New York
      Corporation,                                        Judge: Hon. Yvonne Gonzalez Rogers
23    Defendants.
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28
                                                    -1-               Case No. 4:20-cv-02254-YGR-JCS
                                         STATEMENT OF RECENT DECISION PERTAINING TO DEFENDANT
                                                   MULTIPLAN, INC.’S MOTION FOR RELIEF [DKT. 268]
     PD.40971611.1
        Case 4:20-cv-02254-YGR Document 282 Filed 01/25/23 Page 2 of 2



             Pursuant to Civil Local Rule 7-3(d)(2), MultiPlan, Inc. respectfully submits this Statement
 1
     of Recent Decision to bring to the Court’s attention the recent dismissal of the writ of certiorari by
 2
     the Supreme Court in In Re Grand Jury, No. 21-1397, attached hereto as Exhibit A. MultiPlan
 3
     maintains all unaffected arguments in its Motion for Relief from Non-Dispositive Pretrial Order of
 4
     Magistrate Judge [Dkt. 268] and continues to pray for the relief sought therein.
 5
 6
             Dated: January 25, 2023                              Respectfully Submitted,
 7
                                                                  _/s Errol J. King, Jr._______________
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                                                      -2-             Case No. 4:20-cv-02254-YGR-JCS
                                         STATEMENT OF RECENT DECISION PERTAINING TO DEFENDANT
                                                   MULTIPLAN, INC.’S MOTION FOR RELIEF [DKT. 268]
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